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        Vivi Stafford, MD                         PAID                      2~i~ ~~Y 20 PM 12~
 2      6051 San Vicente Blvd.
        Los Angeles, CA 90036
 3      Telephone: 323-360-4670                 ern► 2 ~                               ~, .:.
                                                                             ;,                 ---   _
 4
                                                           4812
 5

 6

                                  UNITED STATES DISTRICT COURT

 8                          FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9

~o                                                     ~ ~~8—p9164—S~w~~c-~
11      Vivi Stafford, MD,an individual
                                                           COMPLAINT FOR:
12                   Plaintiff,
13
                                                           Violation of Civil Rights Act of 1866
               v.                                          (Section 1981)
14 ',
        Avenal Community Health Center,
15
        Khuong Phui, D.O.                                  JURY TRIAL
16

17      Does 1 through 5;

18                   Defendants
19

20

21

22

23

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 1   ~ Introduction:

 2        1.) Plaintiff Vivi Stafford, M. D. is an individual.
 3
         2.) Plaintiff Vivi Stafford, M.D. is a medical doctor with a license to practice medicine in the
 4
             state of California and the state of New York.
 5
         3.) Plaintiff Vivi Stafford, M.D. has a federal waiver to treat patients for opioid addiction in
 6

             accordance with the guidelines for physicians.

 8       4.) Plaintiff Vivi Stafford, M. D.,(hereinafter "Plaintiff',"Dr. Stafford") brings this action for
 9
             violation of federal civil rights and retaliation under Violation of the Civil Rights Act of 1866
to
            (Section 1981).
11
         5.) Plaintiff is informed and believes the Defendant the Avenal Community Health Center
12

13          (hereinafter "ACHC")is a California Corporation, and at all relevant times herein duly

14           organized and existing under and by virtue ofthe State of California.

15
         6.) Plaintiff is informed and believes that ACHC,for all times relevant herein, is authorized to do
16
             business in Fresno County, Kings County and Tulare County.
1~
         7.) Plaintiff is informed and believes that Khuong Phui, D.O. is a doctor of osteopathic medicine
18

19           license by the osteopathic medical board of California.(Exhibit 1)

zo       8.) Plaintiff Dr. Stafford was contacted while at 6051 San Vicente Blvd., Los Angeles, California

21
             90036 to join the team at ACHC.
22
         9.) Plaintiff prays to leave to amend in accordance with California Civil Code if essential for
23
             furtherance ofjustice.
24

25
          10.)         Avenal Community Health Center (hereinafter "ACHC")is a federally qualified and

26           licensed primary care clinic, providing medical, dental, optometry, and specialty care to

27           underserved communities in Kings, Tulare and Fresno Counties.
28


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 1 ~ ~ Jurisdiction of the Case: This Court has jurisdiction over this matter based on federal question

 2   Pursuant to the Civil Rights Act of 1866 (Section 1981) Plaintiff in Pro Per Vivi Robyn Stafford,
 3
     M.D. General Statements and Facts:
 4

 5

 6
                                            STATEMENT OF FACTS

 8
         1.) During the summer of 2016 Avenal Community Health Center contacted Dr. Stafford via
 9
             email because they stated they needed to employ a physician immediately. The head of h~
io

11           resources at ACHC Hemanta Mungur sent Dr. Stafford an email while she was at 6051 San

12           Vicente Blvd. Los Angeles, California, her clinic office.

13
         2.) During that summer of 2016 Dr. Stafford explained to ACHC that she was in Los Angeles,
14

15           California and that ACHC was not local for her. ACHC stated that they needed a physician to

16           commit to their facility for about three years. ACHC stated that having access to Dr.
l~
             Stafford's resume they stated she was a good candidate for their facility. The health center
18
             encouraged Dr. Stafford to interview at the facility.
19

20
         3.) Dr. Stafford drove from Los Angeles County to Lemoore, California to interview with the
21
            facility. At the time, the facility stated that to be employed at the facility, the salary was
22
             advertised as $280,000 a year but that they would offer Dr. Stafford $270,000 per year plus
23

24
             additional benefits. The additional benefits would include health insurance, dental insurance,

25           reimbursing for automobile expenses such as gas costs and car wear and tear, cell phone bills

26           costs and continued medical education and licensing costs.(Exhibit 10)
27

28       4.) Dr. Stafford accepted the job and was sent the contract via email at 6051 San Vicente Blvd.

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 i        Los Angeles, CA 90036. Dr. Stafford was sent numerous additional documents in Los

 2        Angeles, County before Dr. Stafford relocated to treat patients in Fresno County and Kings
 3
          County.
 4

 5    5.) On or about July 22, 2016, the Plaintiff entered into a Clinical Services Agreement with
 6
          ACHC.


 8    6.) After Dr. Stafford was encouraged to relocate to the facility she immediately was faced with
 9
         racially charged statements. The most egregious charged statement was a text message to the
io
          healthcare team which referenced a team member as a "nigga".
li

12    7.) Dr. Stafford believed and continues to believe that she was being referenced as a "nigga"
13
          because she was the only African American to receive the text message. Initially Dr. Stafford
14
         received the text message with the belief that the message was sent only to her. However, Dr.
15

16
         Stafford realized after receiving the text message that it was sent to the healthcare team

1~        including the medical director of the clinic.

18
      8.) Almost immediately after the medical director received the text message with the reference
19

20       "nigga" the medical director began to treat Dr. Stafford differently.

zl
      9.) Dr. Stafford was the target of multiple events that were unacceptable as they were racially
22

23
         charged.

24
             a. Dr. Stafford states that around September of 2016, Christina Castaneda, a receptionist
25
                 at ACHC,walked up to the Plaintiff, at which time Christina "referred to herself as
26

27               being half white and half black." as a type of humor. Christina had not identified

28               truthfully as being of decent of African American or African heritage and does not

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 1             identify as such except as a joke amongst the staff. Christina Castaneda thought it was

 2             funny. Essentially,.Christina's comment was offensive as Dr. Stafford did not find the
 3
               statement to be humorous. Dr. Stafford believed this was done to highlight the race of
 4
               Dr. Stafford's amongst the healthcare team. Dr. Stafford did not report Christina's
 5

 6
               "half black" comment to anyone at ACHC at the time it occurred.

 7
            b. The computer maintenance department staff member by the name of Michael told a
 8

 9
               staff member at the ACHC facility that Dr. Stafford would be there for six months at

to             the most. Michael made this statement because he knew that the plan was to coax Dr.

li             Stafford at the facility just long enough to be cleared for federal funding.
12

13          c. In or around December of 2016, Betty Mora, a medical assistant at ACHC,asked the

14             Dr. Stafford why the she did not wear a wig, as did an African-American Referral
15
               Clerk for ACHC.
16

17          d. The CFO of the facility Hemanta Mungur was head of the human resources

18             department and accused Dr. Stafford of possibly stealing the computer based on her
19
               race in about May of 2017.
20

21          e. In May of 2017 Hemanta Mungur stated that he gets racist statements all the time and
22
               they do not bother him. Hemanta Mungur was implying that the n-word statement
23
               should not have been offensive to Dr. Stafford.
24

25          f. After the N-word was published through clinic employees, a pen was thrown at Dr.
26
               Stafford by a technician at the clinic who was frustrated.
27

28          g. After the pen was thrown at Dr. Stafford, Dr. Stafford filed a complaint with the

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 1              manager of the facility. The manager of the facility was head ofthe employees rather

 2              than the medical director although he had no degrees in healthcare what-so-ever. Thi:
 3
                was the case as a form of discrimination. Education at the premises did not apply to a
 4
                employees regardless of race. Race plaid a role in vacating educational levels in the
 s
                workplace. For example, the manager ofthe clinic was not a holder of any degree
 6

                what-so-ever outside of high school and was considered the manager of employees

 8              that were supposed to be Dr. Stafford's subordinates based only on race.
 9

io          h. The CFO who was head of human resources was aware of Dr. Stafford's immediate

it              complaint of an employee throwing a pen at Dr. Stafford.

12
            i. The manager was aware of Dr. Stafford's immediate complaint which was also wri
13

14              on a paper at the facility. The manager proceeded to destroy the written handwritten

15              note about the event. The manager then proceeded to change the event to being, Dr.
16
                Stafford was sitting in the area but that the pen was not intentionally thrown at Dr.
i~
                Stafford but intentionally thrown at someone else while Dr. Stafford was sitting at the
18
                desk.
19

20
            j. Dr. Stafford's report is the pen was thrown at her but did not hit her. Dr. Stafford's
21
                report was the pen hit the wall next to Dr. Stafford.
22

23
            k. At the facility, Dr. Stafford's hair was criticized based on race. Betty Mora, a medical
24
                assistant at ACHC,asked the Plaintiff why the Plaintiff did not wear a wig, as did an
25
                African-American Referral Clerk for ACHC. Dr. Stafford believed her hair was nice
26

27             and was offended that she was encouraged to wear a wig based on racial

28 I           characteristics which is irrelevant to the job as a physician.

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 1          1. Dr. Phui's gave a review of Dr. Stafford the highest possible score — an "A" — in the

 2             vast majority of review categories. Dr. Phui then proceeded to defame Dr. Stafford's
 3
               level of care by "making up stuff' to discredit her ability in working with patients and
 4
               their care.
 s

 6
            m. The CFO and CEO hired Dr. Stafford which is unlawful. Dr. Phui had the obligation

               to hire Dr. Stafford as he was the medical director. Based on race, Dr. Phui condoned
 8
               negligent behavior towards Dr. Stafford based on her race.
 9

10
            n. After Dr. Stafford reported the N-word to the clinic and other incidents of
li
               discrimination, it was an administrative decision to end Dr. Stafford's employment.
12
               This administrative decision was made by the CEO and the CFO which is unlawful.
13

14             Khuong Phui had nothing to do with the discrimination at the workplace because of

15             Dr. Stafford's race. Additionally, the facility has a zero tolerance policy. The zero
16
               tolerance policy at the clinic is designed that the individual who was discriminated
1~
               against is terminated with severance.
18

19          o. Indentured servitude ensued as Dr. Stafford was terminated; it was indentured
zo
               servitude because she was forced off the premises, anon-performance document was
21 ',
               handed to her by non-physicians and the clinic continued to use Dr. Stafford's
22

23
               credentials for at least one month. Dr. Stafford had patients that she was obligated to

24             see. This occurred because of the complaints Dr. Stafford had made about racial

25             statements made to her at the facility.
26

27          p. Other healthcare professionals, were permitted to see their patients during their last 30

28             days, because of Dr. Stafford's race she was considered unworthy to care for her

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 1             patients.

 2
            q. Christina Castaneda made a statement that mixed race people, Caucasian and African
 3

 4             American was disgusting. The facility changed the story that Christina was saying that

 5             mixed race disgusting to the lunch meal of fish was disgusting. Then the clinic
 6
               determined that Christina Castaneda had the right to give her personal opinions about

               mixed races at the facility and her opinion ofthem being disgusting is not a form of
 8
               discrimination.
 9

10
            r. The clinic encouraged Dr. Stafford to apply for a fellowship. The clinic administration
li
               encouraged this as a joke so Dr. Stafford would be rejected from the program. When
12
               Dr. Stafford was not rejected from the program, the clinic acted immediately to get Dr.
13

14             Stafford's offer reversed based on Dr. Stafford's race. (Exhibit 8)

15
            s. The CFO states the Dr. Stafford mentioned the N-word in the workplace as it was sent
16

1~             to Dr. Stafford through a staff text chain. This statement by the CFO is true.

18
            t. Dr. Stafford and her fiance were not included in events on a work related retreat with
19
               ACHC because of her race. After Dr. Stafford complained of being excluded she was
20
21             then allowed to participate in some events along with her fiance.(Exhibit 19)

22

23          u. On May 31St, 2017 the CEO wrote in a letter "this memo is to confirm that we

24             discussed at length the each ofthe harassment and discrimination complaints you had
25
               raised in your previous correspondence." The CFO and CEO demanded Dr. Stafford
26

27             to not come to the premises anymore on May 31St, 2017 only because of the

28             complaints Dr. Stafford had made about harassment and discrimination.(Exhibit 2)

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 1            v. The CEO had threatened Dr. Stafford and told her that if she reported the racial

 2               statements that there would be serious ramifications and he made that to be true.
 3

 4            w. On about May 30`", 2017; the CEO of the clinic flew into a rage and kick Dr. Stafford

 5               off of his office facility meeting. The next day, he kicked Dr. Stafford off the
 6
                  premises. Dr. Stafford acknowledged his actions via a text message.(Exhibit 3).


 8            x. None of Dr. Stafford's complaints were taken seriously. After Dr. Stafford When she

 9               reported the wig comment, she was told that was just another way ofinviting Dr.
to
                 Stafford to shop for wigs. Dr. Stafford did not want to wear a wig.
11

12            y. Based on race, staff members were changing Dr. Stafford's charts and filling
13
                 prescriptions under her name who were not physicians (Exhibit 18).
14

15    10.)       Dr. Stafford had earned the clinic at least $1,200,000 in her direct patient care in less

16        than nine months.
1~

18    1 1.)      PRACTITIONER conducts herself in a manner which discredits the ACHC,or is

19        detrimental to the reputation, character, and standing of the ACHC. Is in the ACHC
20
          agreement. ACHC believed Dr. Stafford's complaint about her receiving the "n-word" text
21
          was detrimental to the reputation of ACHC where they enforced their zero tolerance policy
22
          and terminated Dr. Stafford's employment through a constructive discharge.
23

24
      12.)       Dr. Phui was granted credit of earning a score of 98 percent in the health center's audi
25
          and Dr. Stafford was not granted credit for contributing to the score although she did because
26
          of her race.
27

28


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 1    13.)      Dr. Stafford's award ofthe fellowship was considered insignificant to the facility

 2       because of her race.
 3

 4    14.)      Dr. Stafford was required by her employer to also complete the UCSF fellowship as a

 5       representative. When Dr. Stafford was chosen to represent the community for healthcare

 6
         through the UCSF fellowship in connection with the California Department of Public Health,

         Dr. Phui and the CEO and others stated it was irrelevant because of Dr. Stafford's race. All of
 8
         Dr. Stafford's accomplishments were considered insignificant because of her race at the
 9

to       facility. (Exhibit 9)(Exhibit 12)

11
      15.)      The facility expressed to Dr. Stafford that the use of the n-word in the workplace
12
         should not be offensive to Dr. Stafford.
13

14
      16.)      ACHC cancelled Dr. Stafford's work meeting for the Opioid program that Dr. St
15
         grew at the clinic because she reported the incident of the N-word.
16

17
      17.)      It was an administrative decision to end Dr. Stafford's employment with severance
18
         because of her reports of discrimination.(Exhibit 4)
19

20
      18.)      The CFO and the CEO had no concern over ending Dr. Stafford's employment with a
21
         one-day notice with severance.
22

23
      19.)      Plaintiff wrote on May 26th:"My goal is to complete our agreement of three years ani
24
         to complete my Fellowship at UCSF. If you have other goals in mind for me,then please let
25
         me know within 72 hours." The CEO retaliated because Dr. Stafford reached out to the
26

27       administration about the n-word being used amongst the staff at the center.

28


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 i    20.)      Avenal Community Health Center believed Dr. Stafford's complaint about her

 2       receiving the "n-word" text was detrimental to the reputation of ACHC.
 3

 4    21.)      Dr. Stafford was working hard trying to improve community care and her work was

 5       interrupted because of her race.
 6

      22.)      The CFO had reached out to Dr. Stafford about growing the opioid program. Dr.

 8       Stafford was not acknowledged for her contribution and growth ofthe opioid clinic because
 9
         of her race. Dr. Phui was the sole and only physician that was acknowledged for growing the
io
         opioid clinic based on the race of Dr. Stafford.(Exhibit 11)(Exhibit 17)
1~

12    23.)      The CEO discriminated as he retaliated against Dr. Stafford for making a complaint
13
         about work place harassment and terminated her employment. The CFO discriminated as he
14
         retaliated against Dr. Stafford for making a complaint about work place harassment and
15

16
         terminated her employment.

17
      24.)      The CEO stated that the Dr. Stafford's report was breaking the trusting relationship
18
         she had with her team. He stated this based on the race of Dr. Stafford.
19

20
      25.)      Dr. Stafford sent a text message to the CEO stating that on May 12th a physician from
21

22       Adventist Health wanted to speak with him about the EHR. The CEO ignored the text

23       message from Dr. Stafford because he believed she was inferior.(Exhibit 6)
24

25    26.)      On May 31St, Dr. Stafford sent a message to the CEO confirming he was not allowing
26
         Dr. Stafford to see her patients anymore via a text message. The CEO did this because he was
27
         angry about the complaints Dr. Stafford had made about the race relations at the facility.
28


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 1
      27.)      The CEO emailed to Dr. Stafford on about April 28th,2018."we take into account the
 z
         peer review findings when we are contemplating the reappointment.". After the text message
 3
         publishing the "n-word" where Dr. Stafford was the only African-American individual to
 4

 5       receive the message amongst the staff, the CEO created a peer review process which is out of

 6       his jurisdiction. He did this because after the publishing of the n-word, he saw Dr. Stafford
 7
         disparagingly.(Exhibit 20)
 8

 9    28.)      Dr. Phui was referred to as a doctor at the clinic. Dr. Stafford was referred to at the

10       clinic other than a physician because of her race. Dr. Stafford's charts were not identified as
11
         doctor like Dr. Phui's because of her race.(Exhibit 14)
12

13    29.)      Dr. Stafford is not a user of marijuana. Although Dr. Stafford fully understands that
14
         many people choose to use marijuana for health benefits with improved health outcomes, the
15
         clinic referred to Dr. Stafford as using marijuana because of racial bias. Although Dr. Stafford
16
         does not use marijuana and never claimed to be using marijuana, the clinic broadcasted that
l~

18       she was a smoker of marijuana because of her race. This was untrue. Dr. Stafford was not

19       using marijuana at the facility or at home. Dr. Stafford did not smoke at the facility or at

20
         home. She was not a smoker but she was portrayed as a smoker based on her race.
21

22    30.)      The CFO emailed Dr. Stafford and told her the CEO was impressed with her resume.

23       However, the CFO stated that he was not impressed with Dr. Stafford's resume. This
24
         indicated that the hiring of Dr. Stafford was a way to lure her to the area and then to harass
25
         her once she made major life changes to work in the community.
26

27
      31.)      Dr. Stafford implemented the growth ofthe use of psychotropic medications at the
28


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 i       facility. Although. Dr. Stafford was the physician that implemented the psychotropic

 2       medication use at the facility, she was not given any credit for this because of her race. Also
 3
         based on race, Dr. Stafford's patients were shuttled to Dr. Phui.(Exhibit 15)
 4

 5    32.)      In order to qualify for continued receipt of federal funding, ACHC is required by the
 6
         Health Resources and Services Administration ("HRSA")/Bureau of Primary Health Care

        ("BPHC")to not discriminate based on race.
 8

 9    33.)      ACHC discriminated based on race. Additionally, they did not encourage the staff to
io
         treat Dr. Stafford as a physician based on race. (Exhibit 16)
ii

lz    34.)      Dr. Phui assisted in the discrimination based on race when he had a professional duty
13
         as a physician to not support the discrimination.
14

15    35.)      Dr. Stafford received zero apology for the use of the n-word in the workplace.

16       5~

17

18    36.)      Dr. Stafford was considered on-call at the facility 24 hours a day 7 days a week during

19       her entire employment.
20
      37.)      The medical assistants are to be the subordinates of Dr. Phui. However, based on race,
21

22       ACHC allowed individuals without degrees in medicine to be supervisors of the medical

23       assistants which is unlawful. Dr. Phui and ACHC did this based on race.
24

25    38.)      Members of the healthcare team texted responses that were considered enthusiastic,

26       including Christina Castaneda, who sent a text reply "Maaaaa nigga!!!!," followed by a

27
         picture of clapping hands. Dr. Stafford was offended by the message. At least one individual
28


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 i          on the team did not have a problem with the text. Dr. Stafford had a problem with the text

 z          was retaliated against because she did not approve of this work being used in the workplace.
 3
            At least one other at the facility outside of Dr. Stafford believed the use of the n word is not
 4
            appropriate.
 5

 6
         39.)      Dr. Stafford believed that statements were made with intent to cast doubt upon the

            credibility, viability and marketability ofthe Plaintiff. Although the Plaintiff earned the
 8
            facility over $100,000 per month as a physician providing care, she was treated badly based
 9

to          on her race. Additionally, Dr. Stafford's achievements at the facility were down played or flat

it          out ignored because of race.

12
         40.)      Dr. Stafford received a message which stated the following:"Go back to Africa where
13

14          you came from Bitch!!!" According to management at ARCH an after-hours messaging

15          saying "Go back to Africa where you came from Bitch!!!" from a staff worker is considered
16
            to be a case per case matter at the health center. In other words, presumably after hours hate
~~
     I
            speech is not considered inappropriate at ACHC even under circumstances that an employee
18
            is receiving statements they believe are harassing from other employees.(Exhibit 7)
19

20
         41.)      ACHC fraudulently induced the Plaintiff to come to work for ACHC in order that
21
            ACHC would qualify for a federal grant. ACHC specifically choose Dr. Stafford via an onl
22

23
            search and targeted Dr. Stafford based on her race. ACHC believed that because of Dr.

24          Stafford's race, it would be really easy to get rid of her once they received the federal funds.

25
         42.)      ACHC did not give Dr. Stafford credit for earning the facility more than one million
26

27          dollars in nine months because of the race of Dr. Stafford.

28


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 1    43.)      The CEO stated Dr. Stafford did not have a contract. He made this statement as a

 2       threat and also because of the race of Dr. Stafford. The CEO believed that a contract did not
 3
         apply to Dr. Stafford.
 4

 s    44.)      After Dr. Stafford was discharged or arguably constructively discharged as she was
 6
         harassed off the ACHC premises, her position was placed by a nurse because the nurse was

         considered just as capable or more capable than Dr. Stafford based on Dr. Stafford's race.
 8

 9    45.)      Dr. Stafford was part of hiring staff until she was demoted in the growth of the
io
         program until she was demoted after the use of the "n- word"
it

12    46.)      Dr. Stafford had a certificate for opioid patient treatment from the Federal
13
         Government.
14

is    47.)      Dr. Stafford was bringing healthcare improvements to the entire community. This was

16       disregarded by ACHC because of Dr. Stafford's race.
1~

18    48.)      ACHC has azero-tolerance policy which meant they had to get rid of Dr. Stafford

19       because ofthe N-word.
20

21    49.)      On May 31St, Dr. Stafford sent a message to the CEO confirming he was not allowing
22
         Dr. Stafford to see her patients anymore via a text message. The CEO did this because of Dr.
23
         Stafford's race.
24

25    50.)      The CEO discriminated as he retaliated against Dr. Stafford for making a complaint
26
         about work place harassment. Dr. Stafford experienced economic loss because she was not at
27
         her facility in Los Angeles, regularly because of the commitment she made with the facility.
28


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 1    51.)       As the clinic started retaliating, Dr. Stafford no longer was allowed a support staff like

 2       Dr. Phui. Dr. Stafford replaced by anon-African American and anon-physician.
 3

 4

 5
                                          CAUSE OF ACTION
 6

 7
      52.)       Plaintiff believes and therefore claims that when ACHC hired Dr. Stafford that the
 8
         ACHC hired Dr. Stafford with the purpose only of qualifying for grants, had Dr. Stafford
 9
         move to the location which is a distance equal or greater than 200 miles away from her office
io

11       on San Vicente Blvd. with the only purpose of hiring her to qualify only for Federal grants)

12      (at least one). After the center qualified for the grant(s), based on Dr. Stafford's race she was

13
         harassed based on her race knowing that Dr. Stafford would not be accepting of race based
14
         bias on the job. Once Dr. Stafford reported the race based bias, including the use ofthe N-
15
         word at work, rather than the zero tolerance policy to those who harassed Dr. Stafford on the
16

1~       job, including throwing a pen at Dr. Stafford, it meant that the target of the harassment, Dr.

18       Stafford was forced off the premises.

19
      53.)       Khuon Phui, D.O. and ACHC allowed discriminatory acts happen to Dr. Stafford
20

21       based on her race. Although they had the power to correct the situation they did not because

22       they wanted Dr. Stafford off the facility because of her race.
23

24
      54.)      Khoung Phui, D.O. and ACHC violated Dr. Stafford's civil rights by having her to

25       undergo separate treatment because of her race. This separate treatment included disparaging

26       remarks, such as essentially no corrective action for the n-word being used in the work
27
         environment and the retaliation that occurred after Dr. Stafford complained of the incident.
28


                                                 - 16 -
Case 2:18-cv-09764-JFW-AGR          Document 1 Filed 11/20/18            Page 17 of 64 Page ID
                                          #:17



 i       (Exhibit 13)

 2
      55.)      Dr. Stafford's complaint was clear to the facility and it was her dislike of the
 3

 4       increasing hostile behavior towards Dr. Stafford. For example, the use ofthe n-word, being

 5       accused of possibly stealing the computer, being accused of using marijuana(when she does
 6
         not), her medical charts were altered, non-physicians were ordering drugs on her license

         without her approval, being excluded from events.
 8

 9    56.)      Dr. Stafford rights were violated by Dr. Phui and the ACHC when they did not
io
         the continued discrimination at the facility.
11
12    57.)      Dr. Phui was the medical director and was negligent in not addressing the n-word in
13
         the workplace and then made statements in connection to Dr. Stafford which were not
14
         categorically true based on race discrimination.
15

16    58.)      ACHC was negligent in not preventing the violation of Dr. Stafford's civil rights after
1~
         Dr. Stafford made multiple reports.
18

19    59.)      Dr. Stafford was damaged in an amount greater than $600,000 from the loss of
20
         employment based on ACHC and Dr. Phui's negligence.
21

22    60.)      The contract applied to Dr. Stafford differently because of her race. For instance, o

23       healthcare professionals who were leaving the facility were allowed to see their patients
24
         where Dr. Stafford was basically "kicked" off the premises with insults such as inferences
25
         she may steal the computer.
26

27
      61.)      Due to Dr. Stafford's race, the facility wanted Dr. Stafford to quit representing the
28


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Case 2:18-cv-09764-JFW-AGR         Document 1 Filed 11/20/18            Page 18 of 64 Page ID
                                         #:18



 i       clinic through the fellowship.

 2
      62.)      Plaintiff has incurred and continues or will incur legal expenses and attorney's fees.
 3

 4       Plaintiff is presently unaware ofthe precise amount of these expenses and fees and prays

 5       leave of court to amend this Complaint when the amounts are more fully known and also
 6
         when she retains an attorney.


 8

 9
                                          PRAYER FOR RELIEF
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                WHEREFORE Plaintiff prays judgement against Defendant, and each of them, as
12
                follows:
13

14
                1.) For compensatory damages including, damages or emotional distress and pain and
15
                    suffering, in an amount according to proof and in excess often times the damages
16
                    for discriminating based on race in violation of section 1981;
1~

18              2.) For Compensatory damages for loss.

19              3.) For punitive damages in an amount to punish Defendant and deter others from
20
                    engaging in similar misconduct;
21
                4.) Damages for violation of section 1981.
zz
                5.) Consequential damages for violation of section 1981.
23

24
                6.) Punitive damages for retaliation in violation of 1981

25              7.) Punitive damages for violation of Federal Civil Rights

26              8.) Compensation for past economic loss.
27
                9.) Compensation for future economic loss.
28


                                               - 18 -
Case 2:18-cv-09764-JFW-AGR          Document 1 Filed 11/20/18            Page 19 of 64 Page ID
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 1               10.)    Economic loss for lost profits.

 2               1 1.)   Economic loss for future profits.
 3
                 12.)    For interest on all sums as allowed by law;
 4
                 13.)    For reasonable attorney's fees and cost of suit; and
 5
                 14.)    Such other relief as this Court deems just and pro
 6

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     Dated: Monday November 19th ,2018
 9

io                                                              Vivi Stafford, MD

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         Case 2:18-cv-09764-JFW-AGR           Document 1 Filed 11/20/18      Page 21 of 64 Page ID
 ]0/25/2018
                                                    #:21
                                                       DCA -Search Details


                                                                                    ISSUANCE DATE
OSTEOPATHIC MEDICAL BOARD OF
                                                                                  NOVEMBER 2, 2009
CALIFORNIA                                                                         EXPIRATION DATE
LICENSING DETAILS FOR: 11007                                                        M ARCH 31, 2019
 NAME: PHUT, KHUONG CUN
 LICENSE TYPE: OSTEOPATHIC PHYSICIAN AND SURGEON 20A                            CURRENT DATE /TIME
 PRIMARY STATUS: LICENSE RENEWED 8 CURRENT
                                                                                  OCTOBER 25, 2018
 ADDRESS OF RECORD                                                                     10:47:12 PM
 PO BOX 580
 LEMOORE
 LEMOORE CA 93245-0580
 KINGS COUNTY


PUBLIC RECORD ACTIONS
        ADMINISTRATIVE DISCIPLINARY ACTIONS(NO RECORDS)
        COURT ORDER (NO RECORDS)
        MISDEMEANOR CONVICTION (NO RECORDS)
        FELONY CONVICTION (NO RECORDS)
        MALPRACTICE JUDGMENT (NO RECORDS)
        HOSPITAL DISCIPLINARY ACTIONS(NO RECORDS)
  '     ISSUED WITH PUBLIC LETTER OF REPRIMAND (NO RECORDS)
  '     ADMINISTRATIVE CITATION ISSUED (NO RECORDS)
        ACTION TAKEN BY OTHER STATE/FEDERAL GOV (NO RECORDS)
  '     ARBITRATION AWARD (NO RECORDS)
        MALPRACTICE SETTLEMENTS(NO RECORDS)



SURVEY INFORMATION
THE FOLLOWING INFORMATION IS SELF-REPORTED BY THE LICENSEE AND HAS NOT BEEN VERIFIED BY THE
BOARD.


ARE YOU RETIRED?                   NO

ACTIVITIES IN MEDICINE             PATIENT CARE - 40+ HOURS
                                   ADMINISTRATION - 1-9 HOURS

PATIENT CARE PRACTICE              ZIP - 93245
LOCATION                           COUNTY -KINGS

PATIENT CARE SECONDARY             NOT IDENTIFIED
PRACTICE LOCATION

TELEMEDICINE PRACTICE              ZIP - 93204
LOCATION                           COUNTY -KINGS

TELEMEDICINE SECONDARY             NOT IDENTIFIED
PRACTICE LOCATION

CURRENT TRAINING STATUS            NOT IN TRAINING

AREAS OF PRACTICE                  FAMILY MEDICINE -PRIMARY

BOARD CERTIFICATIONS               AMERICAN BOARD OF ORTHOPAEDIC SURGERY -
                                   ORTHOPAEDIC SURGERY

AOA BOARD CERTIFICATIONS           AOA -FAMILY PHYSICIANS

POSTGRADUATE TRAINING              NOT IDENTIFIED
YEARS
        Case 2:18-cv-09764-JFW-AGR                               Document 1 Filed 11/20/18   Page 22 of 64 Page ID
                                                                       #:22
CULTURAL BACKGROUND                             DECLINED TO DISCLOSE

FOREIGN LANGUAGE                                DECLINED TO DISCLOSE
PROFICIENCY

GENDER                                          DECLINED TO DISCLOSE




ht[ps://search.dca.ca.gov/details/9001/20A/ l 1007/675ee6c4b 139d608ff8e222cfe7e3d3d                                 2/2
Case 2:18-cv-09764-JFW-AGR   Document 1 Filed 11/20/18   Page 23 of 64 Page ID
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    Case 2:18-cv-09764-JFW-AGR                    Document 1 Filed 11/20/18                   Page 24 of 64 Page ID
 .. Avenal Community Health Center                      #:24

'+~'              405 West D Street • P.O. Box 580 • Lemoore, CA 93245 • Ph.(559)386-400 •Fax (559) 282-5080

J GAG
        May 3l ,2017



        Dr. Stafford                                                        via email to vstafford,~a,ariachc.or~




               RE:      Complaints


        Dr. Stafford,

               This memo is to confirm that we discussed at length the each of the harassment and
        discrimination complaints you had raised in your previous correspondence. As was stated
        previously, ACHC has azero-tolerance policy for these things and we are promptly investigating
        them to the full.

               If not already done so, Mr. Mungur will be contacting you shortly confirming your
        requested personal day off on Thursday. We are looking to see how on a short notice we can
        best accommodate the patients that are on your schedule for that day.

        Sincerely-,~
                 i          ~~~ ~°"
            ~`
        John Blaine, CEO




                                                          STAFFORD -WRONGFUL TERMINATION 5127
Case 2:18-cv-09764-JFW-AGR   Document 1 Filed 11/20/18   Page 25 of 64 Page ID
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27                             Exhibit 3
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Case 2:18-cv-09764-JFW-AGR     Document 1 Filed 11/20/18            Page 26 of 64 Page ID
                                     #:26




                            John Blaine




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Case 2:18-cv-09764-JFW-AGR   Document 1 Filed 11/20/18    Page 27 of 64 Page ID
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                          John Blaine




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     May 31, 2017                                                                   ~~   ~.=°t, ~ 1.~_~~~4~i~




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Case 2:18-cv-09764-JFW-AGR   Document 1 Filed 11/20/18   Page 30 of 64 Page ID
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     Case 2:18-cv-09764-JFW-AGR                       Document 1 Filed 11/20/18                    Page 31 of 64 Page ID
                                                            #:31
 .. Avenal Community Health Center
'+~'                  405 West D Street • P.O. Box 580 • Lemoore, CA 932a~ • Ph.(S59) 386-4500 •Fax (Si9)282-5080
~~~,~G


         May 25, 2017



         Dr. Stafford                                                            via email: vstafford,~ariachc.or~

                 Re        Formal complaint response



         Dear Dr. Stafford:

                I am in receipt of your May 25, 2017, email sent at 7:40 this a.m. I am surprised and
         disappointed. The statements included in the first paragraph of your email are patently incorrect.
         At no time during our meeting did anyone state or imply that you were to keep your complaints
         and concerns to yourself, or place them in a "little white box."

                 Our discussion was about separating two disparate issues: ACHC peer review and the
         process and the unrelated issue from March 8, 2017, regarding derogatory comments made by. a
         staff member. You agreed separation of these issues was appropriate.

                 ACHC has a zero tolerance policy for harassment and discrimination. Thus, in response
         to the derogatory comment issue you raised, we immediately handled the matter as required by
         law and the ACHC Handbook. An investigation was conducted, personnel were spoken to, and
         appropriate steps were taken, including employee re-education, that derogatory language is not
         tolerated in the workplace, and to inform them that even "after-hours" communications can impact
         the workplace when shared. with workplace colleagues. AC~~C's policy against harassment and
         discrimination in the workplace was reviewed with the staff.

                You confirmed during our Monday meeting that you were satisfied with the above
         approach and agreed to move forward. However, your current assertions of threats or threatened
         ramifications resulting from your complaints is simply untrue.

                It appears you are now lodging further complaints. ACHC will address these promptly
         beginning with an investigation.

         Should you wish to discuss these issues fu►-ther, please contact me immediately.

          Sincerely,
                       ~~ ~                   r~.
                                            ~~ .`




          John   aine, CEO




                                                              STAFFORD -WRONGFUL TERMINATIC?N 5248
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2~                             Exhibit 6
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Case 2:18-cv-09764-JFW-AGR    Document 1 Filed 11/20/18   Page 33 of 64 Page ID
                                    #:33




                           John Blaine
                     .<,             ~,r




                                                     -;




                              ~~~~. ~;

       just sent an email to you regarding
      your email this morning.




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             ~~    iPay       ~
                              o              ~~
Case 2:18-cv-09764-JFW-AGR   Document 1 Filed 11/20/18   Page 34 of 64 Page ID
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                                                  Brandon Franks



,.   Brandon Franks
                                                                             Brandon Franks




                                                                   ~_`    Search in Conversation
Go back to Africa where you came from, Bitch!!!
                                                                                                               Case 2:18-cv-09764-JFW-AGR




                                                                   ~~~`   Notifications
                                                                                                         #:35
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                                     8:18                     ~ a 56% ~J~

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                  Jennifer Smith                                             `~
                  To Vivi Stafford
                  ivlar ~, 2 `17
                  View Mare

             was able to locate the document with the Witty gritty
       details:


        http://champion.ucsf.edu/sites/ehampion.ucsf.edu/files/G
       PF%20Healthcare%20Provider%2QBenefits.pdf


       Here is the basic lowdown:


       What are the requirements of the Fellowship?
       • Mandatory attendance at the two-day onboarding
       training on May 5-6, 2017 (Friday and Saturday)
       • Spend approximately 5 hours per month planning
       obesity prevention policy activities in collaboration with
       your local health department
       • Participate in one day-long skill-building workshop per
       year for two years
       • Meet with your LHQ representative at least twice per
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   CHAMPION
   P ROVIDER
      F ELLOWSHIP




                             Employer letter of Support
                        Champion Provider Fellowship Applicant


    On behalf of Avenal Community Health Center I am writing to support Dr. Vivi Stafford's application
    to the Champion Provider Fellowship.

     u nderstand that Champion Provider Fellows may ask to take time away from clinic to attend CME
    courses related to the Champion Provider Fellowship but that there is no specific employer
    commitment of time to the fellowship from the employer.

     also understand that Champion Provider Fellows can play a pivotal role in addressing obesity and
    chronic disease in their community. Champion Provider Fellows will be educated on advocacy v.
    education and their ability to affect change through an upstream approach. I understand that
    Champion Provider Fellows may engage in media interviews and provide testimony to public entities
    as private citizens but will not be representing our organization through such activities.

    Sincere) ,

                                   A~-~--p
    John Blaine, CEO

    Av   al Community Health Center(dba Aria Community Health Center

      laine@ariachc.org,(559)386-4500 x1010




                                               STAFFORD -WRONGFUL TERMINATION 571 ~
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                             On Jun 30, 2016, at 9:38 AM,Hemanta Mungur
                             hemantamungurviaindeed8~~(a,indeedemail.cam > wrote:
Page 41 of 64 Page ID




                                  Hello Dr.Stafford,
                                  1 found your resume on Indeed. Please reply to this email if
                                  you are interested in discussing the Staff Physician position
                                  with our clinic, I could be reached at 559-346-9324
Document 1 Filed 11/20/18




                                  Message from Hemanta Mungur at Aria Community
                                  Health Centers.
                                  Interested? Reply to this email to contact Hemanta Mungur. Your
                                  contact details will be shared when you reply.
                                  Not interested? Decline -Your contact details will not be shared.
      #:41




                                  Report Siam -This message is suspicious or fraudulent.
                                  s ~ ~'__ . ~. ~ s-~,
                                  Job Title: Physician Position
Case 2:18-cv-09764-JFW-AGR




                                  Company: Aria Community Health Centers
                                  Aria Community Health Center located in Lemoore, CA (1
                                  hour south of Fresno) is seeking a Physician for our Family
                                  Practice Clinic.
                                  Competitive Salary $280K +bonus and Benefits
                                  Loan Repayment eligibility
                                  Please email your resume or call 559-346-9324
                                  Located 1 hr south of Fresno,CA
                                                                                         ~TAFFC)RC~ - WRONGFUL TERMINRTI{~h~ ;~<;+:'~~
Case 2:18-cv-09764-JFW-AGR   Document 1 Filed 11/20/18   Page 42 of 64 Page ID
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2~                            Exhibit 11
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   fur teaw~, is d~si.cavt~d e~speciall~ to
    cvt.s~rc thou rereive alLtl~t su.~~ort                               American Society of Addiction Medicine,
                  ~t,jr~u v~~d.                                           Opioid Addiction 2016 Facts 8 Figures

                                                  • Opioids are a lass of drugs that +nciude the ilficit drug heroin as well as prescription pain
                                                      relievers oxycodone, hydrocodone, code+~e, morphine, fentanyl and others.

                                                      Add+ctian is a primary, chronic and relapsing brain disease characterized by an individual
                                ~~
                                                      pathologically pursuing reward and/or relief by substance use and other behaviors.

                                                  • Of the 21.5 million Americans 12 or older that had a substance use disorder in 2014, 1.9
                                                      million had a substante use disorder invo~vfng prescription pain relievers and 586,Q00 had a
                                                                                                                                                                 Case 2:18-cv-09764-JFW-AGR




        Dr, Khuong Phui, D.O.                         substance use disorder involving heroin.

                                                  s   It is estimated that 23%of individuals who use heroin develop opioid addiction.




                                                  +   Opiaceos u opioides son una clase de drogas y medicamentos que entre ellos se incluye la
                                                                                                                                                           #:43




                                                      droga ilicita Como la heroine, asi como los medicamentos prescritos legalmente como los
                                                      analgesicos Como, oxicodona, hidrocodona, codeine, mofina,fentanilo y otras.
         Dr. vvi Stafford, M.D.                   +   l.a ad+ccion ~s una enfermedad cerebral primaria, aonica y recurrente que se caractenza
                                                      poi un indiv~duo en baste de recompense de forma patologica y/o alivio mediante el use de
           8 Case Managers                            susiar~cias y otros comportamien#os.
 Guide ttee patient throughout the program, and
                                                                                                                                                     Document 1 Filed 11/20/18




                                                  • De los 21.5 millones de estadounidenses mayares de 12 anos que hen tenido un trestomo
  can answer questia~s about the prpcess.             poi use de sustancias en el 2014, 1.9 miUones hen tenido un trastomo poi use de sustancias
     y los Encargados del Caso                        como los analgesicos recetado3 y 586,(X?0 hen tenido un trastorno poi use de otras sustan-
                                                      cias como la heroine.
   Guian al patients a Vaves del programs y
     pueden responder a preguntas sobre           a   S~ estima que el 2396 de las personas que usan heroine desarrallan adiccion a los opioides
                  el proceso.


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pal.wtew.te parry este proo~raw~a ~ asi, asegu-                                      www.ARIACHG.org
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10/27/2018
                                                                        #:45
                                                              Champions Roster I Champion Provider Fellowship




        CHAMPION
        P RCJVIDER ~
    ~         FELLOWSHIP --~




    Home > About > Champions Roster


   Champions Roster
        Stafford


        Sort by name           Sort by cohort         Sort by region




                                                     Vivi Stafford, MD
                                                     Aria Community Health Center
                                                     Kings, CA

                                     Dr. Stafford has a BA in Anthropology from the University of
                                     Southern California, and obtained her medical degree from the
   ~,~,,.,     ~`       `~           University of Minnesota in 1999. She did her general surgery
                   ~~',~             internship at Mount Sinai Medical Center in New York, where she
                                     was on trauma call during the events of 9/11. Dr. Stafford is in the
   x                                 process of earning a Master's in Public Administration from USC.
                                     She wants to focus her medical career on public policy because
                                     policies have the potential to save lives en masse. As a primary care
   and addiction medicine physician, Dr. Stafford wants to apply her intersectional knowledge of
   healthcare, public policy, and the legal system in curbing the rise of chronic disease. As a
   Champion Fellow based out of Lemoore (an agricultural community where nearly one in five people
   live in poverty), she will work with Central Valley communities to ensure increased access to
   primary care, and to campaign for preventative healthcare policies.

   Champion Provider Fellowship 2017 Cohort




                                                                                                                - ~~~~,s

https://championprovider.ucsf.edu/champions-roster                                                                    1/2
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2~                            Exhibit 13
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                                                     oo~      ~~ ~   I'
                                                                     ~mo J;




               John Blaine                                            y ~~

              To Vivi Stafford
              '~". ~~~;~ ~~, 2G~~
               View More

       Vivi Stafford M D
       It has been my experience that it often takes more than a
      day to get a call back from the medical board. I have also
      found that while there are advantages to put things in
       writing, it is valuable to have had a dynamic conversation
      so that the parties can ferret out the essence of the
      questions to be answered. Without your questions in
       hand I cannot know for sure, but given that I think we
      agree that our peer review form questions do NOT in
      and of themselves create a reportable condition, I do not
      see your urgency.


        began looking into your email on Friday, and I am
      concerned that while there are important issues to
      address, the conclusions you have drawn and built upon,
      do not appear to be correct.


        ~n~n~ ilrl Anrni iranP vni i #n•




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                                    #:49
     ►~                           8:24 PM                CCU O 55% ~~
       ~                                                          ~~
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       From: Karla Campos



       Hello,


       The following need to renew their status:


       -Douglas Smith PA License expires 1/31 /2017 will he
       renew? Not necessary, but will like to know
       -Dr Phui: Life Support Training EXPIREQ if he has a
       recent please submit.
       -Cristal: Current DL (ALREADY UPDATED)
       -I don't have physical/TB current records for:
       -Christina
       -Paula
       -Danelle
       -Beatriz
       -Dr Phui
       - Alan
       -Douglas
       -Vivi
       -Jenny
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         Case 2:18-cv-09764-JFW-AGR                           Document 1 Filed 11/20/18       Page 51 of 64 Page ID
5/30/2017                                                            #:51
                                                                   RE: Psychiatric Services


            Reply all ~ ~         ~ Delete         Junk ~ ~     •••                                                     X


       RE: Psychiatric Services

                    Vivi Stafford                                                                   ~   ~ Reply all ~
                    Tue 2/28, 10:15 AM
                    Jennifer Smith; Khuong Phui



      Sent Items

      Yes, absolutely. I prescribe a lot of psychotropic medications and have done so for years. In fact, did
      extensive research with them in medical school.

       would love to see all the Champion patients when referred. We are treating some of the patients already
      and it would be fantastic to have all of their referrals.

      How can we get directly connected with their referrals so we can accommodate their healthcare needs on
      demand? Let me know, at your convenience.

      Kind regards.
      Vivi

      From: Jennifer Smith
      Sent: Monday, February 27, 2017 1:25 PM
      To: Khuong Phui <kphui@ariachc.org>; Vivi Stafford <vstafford@ariachc.org>
      Subject: FW: Psychiatric Services

      Hello,

       have received a question via email from the Director of Champions. Do you prescribe psychotropic
      drugs? The email below is from Crystal, the Director, and she explains why she is asking.

      Jennifer Smilh
      A~~enal Communit} Health Center
      d ba Aria Coinmunit}' Health Center
       1000 Sk}'line Bled.
      P.O. Box 700
      A~cnaL CA 9320
      jsmithCariachc.org
     (~i9)386-~~00 Exl. 101
     (»9)282-090
      ~~ ~~ ~~.ariachc.ora



      From: Crystal Hernandez [mailto:chernandez@championsrecovery.oral
      Sent: Monday, February 27, 2017 1:21 PM
      To: Jennifer Smith <jsmith@ariachc.ora>
      Subject: RE: Psychiatric Services


                                                                      STAFFORD -WRONGFUL TERMINATION 5223
hops://outlook.office365.com/owa/projection.aspx                                                                        I /3
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     AT&T Wi-Fi                               10:06 PM

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                                              Hemanta

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      No what papers were served? Call
      me asap

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      Ok can u send me a picture of the
      content

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Case 2:18-cv-09764-JFW-AGR      Document 1 Filed 11/20/18   Page 55 of 64 Page ID
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                             Hemanta


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   .~ -- AT&T Wi-Fi `^`           10:11 PM         ~' O ~ 57% ~~


    <~                            Hemanta
                                                           o
                                                                ,,




        Yeah ok with me as long as he udon
        board and feels confident.

         heard about the nasty patient
        yesterday

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                :.~       s Pay     ~                    ~~es
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                                                    #:58

       .~11 AT&T LTE                                                 1:50 PM
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           Ok I will have Jen call u

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           Oh boy hold on
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           Yes
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                                                                                                           C k. Th~r~~C,




           Yeah anytime


          C~:     ~:

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Attendees - By Family

   1 John Blaine, CEO                               12 Chuck Smith, FNP
     Connie Blaine                                     Ellen Smith
                                                       Elisha Smith, 2 yrs
   2 *Aaron Dykstra, DNP
     *Stefani Dykstra                               13 Doug Smith, FNP
     *Kaiya, 5 yrs                                     Yrene Smith
     *Noah, 3 yrs
     *Maliyah, 1 yr                                 14 Jennifer Smith, Community Resource Specialist
     *Brielle, 1 yr
     *Taija, 15 yrs                                 15 Vivi Stafford, MD
                                                       J ulio Sixto Palacios
   3 Linda Hudson, PA
     Steve Hudson                                   16 Alex Tamayo,FNP
                                                       Jessica Tamayo
   4 John Kalfayan, Director of Quality
                                                    17 Veronica Vo,PA
   5 Luisa Moreno, RDH                                 Tracy Le
     Merced Moreno                                     Hieu Nguyen
     Michael, 13 yrs
     Aden, 3yrs                                     18 Lali Witrago, HealthNet
                                                       Alicia Alvarado, Health Net
   6 Hemanta Mungur,CFO
     Patricia Mungur
     Ishan Mungur, 3yrs
     Alisha Mungur, 2yrs

   7 Mark Newsum,DCM
     Carlene Newsum

   8 Khuong Phui, DO
     Lauren Phui
     Jacob Phui, 15 yrs
     Spencer Phui, 13 yrs
     Mei Phui, 7 yrs

  9 Alan Pratt, Director of Operations

 10 Vanessa Pulido Danier, DDS
    Cameron Danier
    Kaira Pulido, 9 yrs

 11 Jeffrey Ring, PhD (Trainer)




*One day use only (4/29/17)               Bold Name =Employee of ACHC                   STAFFORD 5010
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                                       ACHC Clinician's Retreat.
                                      Saturday, April, 29, 2017
                                         ACTIVITY SCHEDULE
       2:OQ PM                  3:00 PM                                 4:00 PM
       Paintball'             Climbing Wall           Extreme Swing               Climbing Wall
Alex Tamayo            Aaron Dykstra              Mark Newsum           Linda Hudson
Veronica Vo            Stephanie Dykstra          Carlene Newsum        Steve Hudson
John Kalfayan          Jacob Phui                 Jacob Phui            Alex Tamayo
Jacob Phui             Spencer Phui               Spencer Phui          Jessica Tamayo
Spencer Phui           Mei Phui                   Mei Phui              Veronica Vo
Khuong Phui            Lauren Phui                Lauren Phui           Jennifer Smith
Jennifer Smith         Khuong Phui                Khuong Phui
Alan Pratt             John Kalfayan              Veronica Vo
John Blaine                                       Alex Tamayo
Connie Blaine                                     Vanessa
                                                  Cameron
Zipline'                                          Kaira Pulido
Mark Newsum                                                      FULL
Carlene Newsum                    Vertigo`                 Vertigo"
Vanessa Pulido         Alex Tamayo                Jacob Phui
Cameron                Jessica Tamayo             Spencer Phui
Kaira Pulido           Veronica Vo                Khuong Phui
Jessica Dykstra        Linda Hudson               Vanessa Pulido
Aaron Dykstra          Steve Hudson               Cameron
                       Jennifer Smith             Kaira Pulido


                                  Zip Line'                  Archery
                       Jacob Phui                 Alex Tamayo
                       Spencer Phui               Jessica Tamayo
                       Mei Phui                   Linda Hudson
                       Lauren Phui                Steve Hudson
                       Khuong Phui                Khuong Phui
                       John Kalfayan              Jacob Phui
                       Veronica Vo                Spencer Phui
                       Alex Tamayo                Mei Phui
                       Jennifer Smith             Lauren Phui
                                                  Veronica Vo           Activities open for an hour
                                                  John Kalfayan         at a time unless otherwise
                                                  Jeffrey Ring          indicated.
                                                  Jennifer Smith        } Must attend from start time
                                                                        " Open for 2 hours
Vertigo: Max 10 people/hr Extreme Swing: 12 people/hr
Archery and Extreme Swing: Max 20 people/hr each


                                                                            STAFFORD 5009
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       .~ AT&T LTE                   12:17 PM             @ ~ ~ 82% ~~~

                                     Details                    Done


                 Khoung Phui                •~ , ~.,


                Betty                        ~~      ~       ~


                +1 (559) 572-3872


          ~~.   +1 (559) 38Q-7603            ■~      +~       t,.


          ~ `~ ~ Danelle


            ~ ~~~~~ Crystal                  ■~      ~        't~




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          share My Location



         Hide Alerts

                       Images

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            142

                                         6 People




                   I m taking homemade arroz con
                   '
                   leche (rice'pudding) tomorrow for
                   breakfast or dessert or both

                   Can someone forward to Paula i
       ~ ~:~~~;    don't have her number
                                 ., __
                                          .,.. ., .
            ~=
            4~;.
                   Maaaaa nigga!!~! ..~,~ ~, ~~,


       ~jx~~~~
            r.     Yum. Thanks my favorite


                   Lol lol ~~ k ~ ~A ~~ ~~ ~~ ~~
